          Case 4:22-cv-05246-HSG Document 50-1 Filed 10/10/23 Page 1 of 1




                                    UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA

                                            OAKLAND DIVISION


 LARRY GOLDEN,                             )                 Case No. 4:22-cv-05246-HSG
                                           )
    Plaintiff,                             )                 [PROPOSED] ORDER DENYING
                                           )                 PLAINTIFF’S MOTION FOR LEAVE
 v.                                        )                 TO FILE SURREPLY IN OPPOSITION
                                           )                 TO DEFENDANT’S REPLY TO
 GOOGLE LLC,                               )                 MOTION TO DISMISS PLAINTIFF’S
                                           )                 AMENDED COMPLAINT BY
    Defendant.                             )                 DEFENDANT GOOGLE LLC
 _________________________________________ )


         Before the Court is Plaintiff’s Motion for Leave to File Surreply in Opposition to Defendant’s

 Reply to Motion to Dismiss Plaintiff’s Amended Complaint by Defendant Google LLC. After

 consideration of the motion and arguments from the parties, the Court finds that it should be DENIED.



         IT IS SO ORDERED.



 Dated: ________________, 2023                           _____________________________________
                                                         Honorable Haywood S. Gilliam, Jr.
                                                         United States District Court Judge




                                                                                  Case No. 4:22-cv-05246-HSG
____________________________________________________________________________________________________________
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                                     [PROPOSED] ORDER DENYING MOTION FOR LEAVE TO FILE SURREPLY
